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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                  §
In re:                            §                              Chapter 11
                                  §
TALEN ENERGY SUPPLY, LLC, et al., §                              Case No. 22-90054 (MI)
                                  §
                  1
         Debtors.                 §                              (Jointly Administered)
                                  §
                                  §

                NOTICE OF EFFECTIVE DATE OF JOINT CHAPTER 11 PLAN OF
                TALEN ENERGY SUPPLY, LLC AND ITS AFFILIATED DEBTORS

               PLEASE TAKE NOTICE that, on December 15, 2022, the Honorable Marvin
Isgur, United States Bankruptcy Judge for the United States Bankruptcy Court for the Southern
District of Texas (the “Bankruptcy Court”), entered the Findings of Fact, Conclusions of Law,
and Order Confirming Joint Chapter 11 Plan of Talen Energy Supply, LLC and Its Affiliated
Debtors [Docket No. 1760] (the “Confirmation Order”)2 confirming the Joint Chapter 11 Plan
of Talen Energy Supply, LLC and Its Affiliated Debtors, dated December 14, 2022 [Docket
No. 1722] (as supplemented, the “Plan”).3

                PLEASE TAKE FURTHER NOTICE that, on May 17, 2023, all conditions
precedent to consummation of the Plan were satisfied or waived in accordance with Article IX of
the Plan. Further, no stay of the Confirmation Order is in effect. Accordingly, May 17, 2023 is
the Effective Date of the Plan. As of the Effective Date, the injunction set forth in Article VIII.F
of the Plan is now in place.

                PLEASE TAKE FURTHER NOTICE that, in accordance with Article V.B of
the Plan, on the Effective Date, except as otherwise provided in the Plan, all Executory Contracts
required to be assumed pursuant to the RSA (including management employment agreements) and
all Executory Contracts or Unexpired Leases not otherwise assumed or rejected will be deemed
assumed by the applicable Reorganized Debtor, other than (i) those that are identified on the
Rejection Schedule; (ii) those that have been previously rejected by a Final Order; (iii) those that
have been previously assumed or assumed and assigned by a Final Order; (iv) those that are the
subject of a motion to reject Executory Contracts or Unexpired Leases that was pending on the
Confirmation Date; and (v) those which the Debtors have, as of the Confirmation Date, received
authority to reject pursuant to an order of the Bankruptcy Court and which the effective date of

1
 A complete list of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’ Claims and
Noticing Agent at https://cases.ra.kroll.com/talenenergy. The Debtors’ primary mailing address is 1780 Hughes
Landing Boulevard, Suite 800, The Woodlands, Texas 77380.
2
 On December 20, 2022, the Bankruptcy Court issued an amended Confirmation Order at Docket No. 1760, solely to
delete the word “proposed” from the title.
3
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the Plan.
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such rejection is after the Effective Date; provided, that, notwithstanding the foregoing, no
Executory Contract or Unexpired Lease will be deemed assumed if (a) the counterparty to such
Executory Contract or Unexpired Lease did not receive a Cure Notice and (b) the amount of the
Cure Claim associated with such Executory Contract or Unexpired Lease exceeds $5 million.

              PLEASE TAKE FURTHER NOTICE that copies of the Plan and the Disclosure
Statement may be obtained free of charge by visiting the website maintained by Kroll
Restructuring Administration LLC at https://cases.ra.kroll.com/talenenergy/Home-Index. Parties
may also obtain any documents filed in the Chapter 11 Cases for a fee via PACER at
https://www.pacer.gov/. Please note that a PACER password and login are required to access
documents via PACER.

                PLEASE TAKE FURTHER NOTICE that the Plan and the provisions thereof
(including the exhibits and schedules thereto and all documents and agreements executed pursuant
thereto or in connection therewith), the Plan Supplement, and the Confirmation Order are effective
and enforceable and shall bind the Post-Effective Date Debtors, the Released Parties, the
Exculpated Parties, all holders of Claims and Interests (irrespective of whether such Claims or
Interests are impaired under the Plan or whether the holders of such Claims or Interests accepted
or are deemed to have accepted the Plan), any other person giving, acquiring, or receiving property
under the Plan, any and all non-Debtor parties to executory contracts and unexpired leases with
any of the Debtors, any other party in interest in the Chapter 11 Cases, and the respective heirs,
executors, administrators, successors, or assigns, if any, of any of the foregoing. All settlements,
compromises, releases (including, without limitation, the releases set forth in Article VIII.C and D
of the Plan), waivers, discharges, exculpations, and injunctions set forth in the Plan are effective
and binding on any Person or entity that may have had standing to assert any settled, compromised,
released, waived, discharged, exculpated, or enjoined Causes of Action.



                          [Remainder of Page Left Blank Intentionally]




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Dated: May 17, 2023
       Houston, Texas
                                            /s/ Gabriel A. Morgan

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                                          Attorneys for Debtors
                                          and Debtors in Possession




                        [Signature Page to Notice of Effective Date]
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                                       Certificate of Service

       I hereby certify that on May 17, 2023, a true and correct copy of the foregoing document
was served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas, and will be served as set forth in the Affidavit of Service to be filed by
the Debtors’ claims, noticing, and solicitation agent.



                                                          /s/ Gabriel A. Morgan
                                                        Gabriel A. Morgan
